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                                                                          5                     IN THE UNITED STATES DISTRICT COURT
                                                                          6                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                              IN RE: CATHODE RAY TUBE (CRT)           )   MDL No. 1917
                                                                          8   ANTITRUST LITIGATION                    )
                                                                                                                      )   Case No. C-07-5944-SC
                                                                          9                                           )
                                                                                                                      )   ORDER GRANTING
                                                                         10   This Order Relates To:                  )   ADMINISTRATIVE MOTIONS FOR
                               For the Northern District of California
United States District Court




                                                                                                                      )   LEAVE TO FILE UNDER SEAL
                                                                         11                                           )
                                                                              ALL ACTIONS                             )
                                                                         12                                           )
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                                                                         18         Now before the Court are several administrative motions for
                                                                         19   leave to file under seal documents largely related to motions in
                                                                         20   limine.   See ECF Nos. 3272, 3432, 3506, 3513, 3516, 3519, 3521,
                                                                         21   3535, 3560, 3563, 3564, 3569, 3570, 3575, 3580, 3584, 3590, 3592,
                                                                         22   3594, 3596, 3598, 3603.     As the Court has ordered previously, the
                                                                         23   motions are GRANTED with the proviso that "the Court will look
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                                                                         25   ///
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                                                                          1   favorably upon motions to intervene filed by members of the public
                                                                          2   who wish to access the sealed documents."        ECF No. 1512, at 1.
                                                                          3
                                                                          4        IT IS SO ORDERED.
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                                                                          6        Dated: February 25, 2015
                                                                                                                   UNITED STATES DISTRICT JUDGE
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                               For the Northern District of California
United States District Court




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